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         ORDERED in the Southern District of Florida on October 3, 2022.



                                                               Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court



                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION

         In re:                                                 Case No. 22-14583-SMG
                                                                Chapter 13
         MARISA CHANILE SMITH,

                              Debtor          /

                           ORDER DENYING MOTION FOR RECONSIDERATION

                  THIS MATTER came before the Court for hearing on September 15, 2022, at 2:00 p.m.

         upon the Debtor’s Motion to Reconsider the Court’s Order Granting Motion for Relief from Stay

         [D.E. #55] (the “Motion”). The Court, having considered the Motion and the arguments presented

         at the hearing, orders as follows:

                  1.     The Motion is denied for the reasons stated on the record.

                                                          ##

         Submitted by:

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Attorney Hoffman shall serve a copy of the signed order on all parties served with the Motions and
shall file with the court a certificate of service conforming with Local Rule 2002-1(F).
